         Case: 3:20-cv-00927-bbc Document #: 12 Filed: 10/27/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 JAMES M. UPTHEGROVE,

         Plaintiff,                                                    ORDER
    v.
                                                              Case No. 20-cv-927-bbc
 MMHI MEDICAL DIRECTOR, et al.

         Defendants.


 JAMES M. UPTHEGROVE,
                                                                       ORDER
         Plaintiff,
    v.                                                        Case No. 20-cv-975-bbc

 MENDOTA MEDICAL DIRECTORS, et al.

         Defendants.


         Plaintiff James M. Upthegrove, a patient at Mendota Mental Health Institution,

has submitted a resident account statement in support of the pending motions to proceed

without prepayment of the filing fee. This court uses one method for determining the

indigent status of all institutionalized persons, even those like plaintiff who are not subject

to the 1996 Prisoner Litigation Reform Act.

         After considering the motion and supporting documentation, the court concludes

that plaintiff qualifies for indigent status. Using information for the relevant time-period

from plaintiff’s resident account statement, I calculate plaintiff’s initial partial filing fees

to be $13.89 for each case. For these cases to proceed, plaintiff must submit these amounts

on or before November 18, 2020.
       Case: 3:20-cv-00927-bbc Document #: 12 Filed: 10/27/20 Page 2 of 2




                                           ORDER

       IT IS ORDERED that:

       1.     The motions filed by plaintiff James M. Upthegrove for leave to proceed

without prepayment of the filing fee are GRANTED. Plaintiff is assessed $13.89 as an

initial partial payment of the $350.00 fee for filing each case as an indigent litigant.

Plaintiff shall submit a check or money order made payable to the “Clerk of Court” in the

amounts of $13.89 for each case (or one check in the amount $27.78) on or before

November 18, 2020. If plaintiff fails to comply as directed or show cause of failure to do

so, the court will assume that plaintiff does not wish to proceed and the case(s) will be

dismissed without prejudice to plaintiff filing the case(s) at a later date.

       2.     No further action will be taken in these cases until the clerk’s office receives

plaintiff’s initial partial filing fee(s) as directed above and the court has screened the

complaint(s) as required by 28 U.S.C. § 1915(e)(2).           Once the screening process is

complete, separate orders will issue.




              Entered this 27th day of October, 2020.

                                    BY THE COURT:


                                    /s/
                                    PETER OPPENEER
                                    Magistrate Judge
